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 6   Proposed Attorneys for Diane C. Weil,
     Chapter 7 Trustee
 7
                              UNITED STATES BANKRUPTCY COURT
 8
                               CENTRAL DISTRICT OF CALIFORNIA
 9
                                SAN FERNANDO VALLEY DIVISION
10
      In re                                         Case No. 1:20-bk-11784-MB
11
      VALLEY ENTERPRISES T.S., INC.,                Chapter 7
12
                                                    OPPOSITION TO MOTION FOR RELIEF
13                                                  FROM THE AUTOMATIC STAY FILED
                                                    BY CREDITOR, 1SHARPE
14                                                  OPPORTUNITY INTERMEDIATE TRUST
                                                    REO ENTITY; DECLARATION OF DIANE
15                                                  C. WEIL IN SUPPORT THEREOF
16                                                  Date: March 23, 2021
                                                    Time: 10:30 a.m.
17                                                  Place: Courtroom 303
                                                           United States Bankruptcy Court
18                                                         21041 Burbank Boulevard
                                                           Woodland Hills, CA 91367
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 1             TO THE HONORABLE MARTIN R. BARASH, UNITED STATES BANKRUPTCY

 2   JUDGE, THE DEBTOR AND ITS COUNSEL, THE OFFICE OF THE UNITED STATES

 3   TRUSTEE, AND ALL OTHER INTERESTED PARTIES:

 4             Diane C. Weil, the duly appointed and acting Chapter 7 Trustee (“Trustee” or “Applicant”)

 5   for the bankruptcy estate (“Estate”) of the above-captioned debtor, Valley Enterprises, T.S., Inc.

 6   (“Debtor”), hereby opposes the motion seeking relief from the automatic stay (the “Motion”) filed

 7   by 1Sharpe Opportunity Intermediate Trust REO Entity: 1s REO Opportunity 1, LLC, its successors

 8   and/or assignees, (“Creditor”).

 9             Section 362(d)(1 ), which provides for relief from the automatic stay of an act against real

10   property if the secured creditor’s interest in the property is not adequately protected. Here, the

11   Creditor is adequately protected with a significant equity cushion. The Motion is not well-founded

12   because Creditor is adequately protected based on the current valuation of the property located at

13   8901 Moonbeam Avenue, Panorama City, Ca (the “Subject Property”). As evidenced by the Motion

14   and the valuation stated in Debtor’s schedules, the Subject Property is adequately protected with an

15   equity cushion of approximately $230,000.

16                                                     I.

17                                 Statement of Facts and Procedural History

18             This bankruptcy case (“Case”) was commenced by the filing of a Voluntary Petition by the

19   Debtor under Chapter 11 of Title 11 of the United States Code (beginning at 11 U.S.C. § 101, et

20   seq., “Bankruptcy Code”) on October 5, 2020 (“Petition Date”). On December 10, 2020, an Order

21   was entered by this Court converting the Chapter 11 case to one under Chapter 7. Shortly thereafter

22   Diane C. Weil was appointed as the Trustee.

23             The Debtor owns and operates six real properties. Jose Pasco is the President and CEO of

24   the Debtor and its sole shareholder. Based on the pleadings in this case, the Debtor filed chapter 11

25   to prevent the imminent foreclose sale of one of the Debtor’s properties.

26             The Debtor disclosed in its Schedule “A” its interest in the Subject Property. The Debtor in

27   its Schedule “A” provided a valuation of approximately $750,000. Based on Creditor’s Motion the

28   note matured on May 1, 2020. The outstanding amount of the note as of May 1, 2020 is

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 1   $511,718.04, [Motion, Docket No. 66, Pg. 8].

 2             The 341(a) meeting was scheduled for March 8, 2021. The Trustee will be filing an

 3   application to employ a real estate broker in this case.

 4                                                        II.

 5                                 Creditor Is Protected By Its Equity Cushion

 6             “Adequate protection" is a flexible concept that requires a court to make decisions on a case-

 7   by-case basis. In re Harrington & Richardson, Inc., 48 B.R. 431, 433 (Bankr. D. Mass 1985). There

 8   is no dispute that the Ninth Circuit has held that a 20% equity cushion is sufficient. See In re Mellor,

 9   734 F.2d at 1401. Further, the Ninth Circuit Court of Appeals has held that , "although the existence

10   of an equity cushion as a method of adequate protection is not specifically mentioned, it is the classic

11   form of [adequate] protection ... " Id at 1400.

12             Further, based on the valuation provided by the Debtor and the Creditor, the fair market

13   value of the Subject Property is approximately $750,000. [Motion, Docket No. 66, Pg.8] Creditors

14   assertion of this valuation of the Subject Property evidences that Creditor fails to satisfy its burden to

15   show that it is not adequately protected pursuant to 11 U.S.C. 362(d)(1).

16             Moreover, Section 362(g) states:- 11 -(g) In any hearing under subsection (d) or (e) of this

17   section concerning relief from the stay of any act under subsection (a) of this section—

18             (1) the party requesting such relief has the burden of proof on the issue

19             of the debtor’s equity in property; and

20             (2) the party opposing such relief has the burden of proof on all other issues.

21             Here, other than the fact that the mortgage has come due, Creditor offers no other basis for

22   seeking relief from the automatic stay. To the contrary, Creditor has provided its own proof that

23   Debtor has equity in the Property to cover any costs of sale and Creditor’s lien. In addition, Creditor

24   fails to address the current arrearages on the Property. It is actually in the best interest of the estate

25   and Creditor to deny its motion for relief from stay and allow the Trustee to sell or operate the

26   Subject Property.

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 1             Therefore, cause does not exist to grant Creditor’s Motion for relief from stay.

 2

 3                                                     III.

 4                        The 10-Day Stay Described By Federal Rule Of Bankruptcy

 5                                Procedure 4001(A){3) Should Not Be Waived

 6             Federal Rule of Bankruptcy Procedure 4001 (a)(3) provides, "An order granting a

 7   motion for relief from an automatic stay ... is stayed until the expiration of 10 days after the entry of

 8   the order, unless the court orders otherwise." Creditor requests that the Court waive this 10-day stay,

 9   but offers no justification for its request. Therefore, even if the Court grants the Motion generally,

10   the Court should not waive the 10-day stay provided for the benefit of the Debtor and other parties in

11   interest under Rule 4001 (a)(3).

12                                                       VI.

13                                                   Conclusion

14             Cause does not exist to grant Creditor’s Motion. Creditor’s interest in the Subject Property is

15   protected by an adequate equity cushion and it would be in the best interest of the Estate for the

16   Trustee to sell or operate the Subject Property. For these and other reasons stated herein, the Motion

17   should be denied.

18

19    DATED: March 9, 2021                             BRUTZKUS GUBNER

20

21                                                         /s/ David Seror
                                                       By:_____________________________________
                                                           David Seror
22                                                     Proposed Attorneys for Diane C. Weil,
                                                       Chapter 7 Trustee
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                                         PROOF OF SERVICE OF DOCUMENT

I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
21650 Oxnard Street, Suite 500, Woodland Hills, CA 91367.

A true and correct copy of the foregoing document entitled: OPPOSITION TO MOTION FOR RELIEF FROM THE
AUTOMATIC STAY FILED BY CREDITOR, 1SHARPE OPPORTUNITY INTERMEDIATE TRUST REO ENTITY;
DECLARATION OF DIANE C. WEIL IN SUPPORT THEREOF will be served or was served (a) on the judge in chambers
in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document.
On March 9, 2021, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:



                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On March 9, 2021, I served the following persons and/or entities at the last
known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

[Delivery to Judge temporarily suspended if under 25 pages, per General Order 20-12]

Debtor:
Valley Enterprises T.S. Inc.
13962 Saticoy Street
Van Nuys, CA 91402


                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                            Service information continued on attached page
I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


March 9, 2021                    ABBIE AU                                           /s/ Abbie Au
Date                               Printed Name                                     Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


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1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):


       Julian K Bach Julian@Jbachlaw.com, julianbach@sbcglobal.net
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        s@rhmfirm.com;russ@rhmfirm.com;rebeca@rhmfirm.com;david@rhmfirm.com;sloan@rhmfirm.com
       David Seror dseror@bg.law, ecf@bg.law
       United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov
       Thomas B Ure tbuesq@aol.com, urelawfirm@jubileebk.net;tom@ecf.courtdrive.com
       Diane C Weil (TR) dcweil@dcweillaw.com,
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       Robert M Yaspan court@yaspanlaw.com, tmenachian@yaspanlaw.com




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